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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS


    GREGORY GODFREY, et al.,
                  Plaintiffs,
                                                         Case Number 18-cv-07918
    v.
                                                         Judge Matthew F. Kennelly
                                                         Magistrate Judge Michael T. Mason
    GREATBANC TRUST COMPANY, et al.,
                  Defendants.


                  DEFENDANTS’ MOTION TO FILE REDACTED BRIEFS
                     AND TO SEAL CONFIDENTIAL DOCUMENTS

         Pursuant to Local Civil Rule 26.2, Defendants McBride & Son Capital, Inc., McBride &

Son Management Company, LLC, John F. Eilermann, Jr., Michael D. Arri (the “McBride

Defendants”), and Defendant GreatBanc Trust Company (“GreatBanc”) (collectively,

“Defendants”) respectfully submit this Motion to File Redacted Briefs and to Seal Confidential

Documents.1 In support of their motion, the Defendants state as follows:

         1.     The agreed-to confidentiality order (Dkt. 59, “Confidentiality Order”) permits the

parties to designate as “Confidential-Subject To Protective Order”: “(a) information prohibited

from disclosure by statute; (b) information that reveals trade secrets; (c) research, technical,

commercial or financial information that the party has maintained as confidential; (d) medical

information concerning any individual; (e) personal identity information; (f) income tax returns

(including attached schedules and forms), W-2 forms and 1099 forms; or (g) personnel or

employment records of a person who is not a party to the case.” Id. ¶ 2. The Confidentiality Order



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 This motion is nearly identical to Defendants’ prior motion to file redacted briefs and to seal
confidential documents, Dkt. 275, which was granted by this Court. See Dkt. 287. Because Defendants
have revised their prior filings in accordance with this Court’s direction, see Dkt. 284, and the McBride
Defendants are filing an additional statement of facts, Defendants move once again to file under seal
and/or redact confidential information.


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further provides that a party may designate as Confidential deposition testimony taken in this case.

Id. ¶ 4.

           2.     Defendants’ Joint Response to Plaintiffs’ Statement of Material Facts, the Reply

Memorandum of Law in Support of McBride Defendants’ Motion for Summary Judgment and

Response to Plaintiffs’ Motion for Partial Summary Judgment, the Reply Memorandum of Law in

Support of GreatBanc’s Motion for Summary Judgment and Opposition to Plaintiffs’ Motion for

Partial Summary Judgment, and the McBride Defendants’ Statement of Additional Fact, filed

contemporaneously herewith, directly quote from and/or include as attachments documents

containing confidential information, specifically:

           (i) Confidential documents and/or deposition testimony previously filed under seal in
           connection with Defendants’ motions for summary judgment and/or Plaintiffs’ combined
           response and cross-motion for partial summary judgment. See 11/13/21 Minute Entry
           (Dkt. No. 263) (granting motion to seal); 1/15/22 Minute Entry (Dkt. No. 274) (same); and

           (ii) Documents and/or testimony deposition testimony designated as Confidential by one
           or more parties to the case (attached as Exhibits 145-167 to Defendants’ Joint Response to
           Plaintiffs’ Statement of Material Facts).

           3.     Paragraph 7 of the Confidentiality Order states, “Any party wishing to file a

document designated as Confidential Information in connection with a motion, brief or other

submission to the Court must comply with LR 26.2.” Dkt. 59 ¶ 7. Defendants hereby move to file

these exhibits under seal and to redact any discussion of confidential information from: (1)

Defendants’ Joint Response to Plaintiffs’ Statement of Material Facts; (2) the Reply Memorandum

of Law in Support of McBride Defendants’ Motion for Summary Judgment and Response to

Plaintiffs’ Motion for Partial Summary Judgment; (3) the Reply Memorandum of Law in Support

of GreatBanc’s Motion for Summary Judgment and Opposition to Plaintiffs’ Motion for Partial

Summary Judgment; and (4) the McBride Defendants’ Statement of Additional Fact.




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       WHEREFORE, the Defendants respectfully request the Court grant the Motion to File

Redacted Briefs and to Seal Confidential Documents and (1) place the exhibits under permanent

seal and (2) approve the redaction of any Confidential information in Defendants’ Joint Response

to Plaintiffs’ Statement of Material Facts, the Reply Memorandum of Law in Support of McBride

Defendants’ Motion for Summary Judgment and Response to Plaintiffs’ Motion for Partial

Summary Judgment, the Reply Memorandum of Law in Support of GreatBanc’s Motion for

Summary Judgment and Opposition to Plaintiffs’ Motion for Partial Summary Judgment, and the

McBride Defendants’ Statement of Additional Facts.


 Dated: March 14, 2022                             /s/ Lars C. Golumbic                    .
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                                                   Company, LLC, John F. Eilermann, Jr.,
                                                   Michael D. Arri

                                                   /s/ Michael L. Scheier            .
                                                   Michael L. Scheier (Ohio 0055512)

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                                 CERTIFICATE OF SERVICE

       I certify that on March 14, 2022, I caused true and correct copies of the foregoing to be

filed electronically using the Court’s CM/ECF system and to thereby be served upon all registered

participants identified in the Notice of Electronic Filing in this matter on this date. This document

is available for viewing and downloading on the CM/ECF system.


                                                      /s/ Lars C. Golumbic




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